Case 5:04-cr-00056-KDB-DSC   Document 118   Filed 03/27/06   Page 1 of 6
Case 5:04-cr-00056-KDB-DSC   Document 118   Filed 03/27/06   Page 2 of 6
Case 5:04-cr-00056-KDB-DSC   Document 118   Filed 03/27/06   Page 3 of 6
Case 5:04-cr-00056-KDB-DSC   Document 118   Filed 03/27/06   Page 4 of 6
Case 5:04-cr-00056-KDB-DSC   Document 118   Filed 03/27/06   Page 5 of 6
Case 5:04-cr-00056-KDB-DSC   Document 118   Filed 03/27/06   Page 6 of 6
